                           EXHIBIT 5
              NC SBI Contact Us Page


Reveals areas of original jurisdiction and instructions
         for reporting other types of cases




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                      North Carolina State Bureau of Invest
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        Contact Us
         The State Bureau of Investigation has original jurisdiction in the following crimes: narcotics, arson, election lawj ,
         state property, environmental crimes , human trafficking and child sexual abuse in day care centers. If you have
         information or questions about other crimes, please contact your local law enforcement agency.

         NOTE:
         If you have questions about .Background Checks. please check the Eregu.ently Asked Questions first.

         If you have questions about .Exrumg~. please check the ~~Y Asked Questions first. You can also find
         out the months cuuently~g_processed.

         • Name:
                                                                                                                               Telephone Contact Information


                                                                                                                               Main Number Z (919) 662-4500
         • Email Address:
                                                                                                                               NC ISAAC Z 1-888-624-7222
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         • Select a Recipient:                                                                                                 SBI District Offices
              Select One                                        V

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         Questions or Comments:




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         Answer the question below:
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         I Submit I


                       Investigations                                                         Services
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